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 8                                   UNITED STATES DISTRICT COURT

 9                                          DISTRICT OF NEVADA

10     VINCENT EDWARD HARTMAN and SAM                          2:21-cv-1755-APG-EJY
       HARTMAN,
11                                                            STIPULATION AND ORDER FOR STAY
                              Plaintiffs,                     OF PROCEEDINGS PENDING AGENCY
12                                                            DECISION
                v.
13
       TERRY ROBINSON in her official capacity as
14     Director of the National Benefits Center of U.S.
       Citizenship and Immigration Services, and
15     UNITED STATES CITIZEN AND
       IMMIGRATION SERVICES,
16
                              Defendants.
17

18          Each of the parties to this action, through their respective counsel, stipulate and agree as

19   follows:

20          1. This is an action under the Administrative Procedure Act seeking judicial review of

21   immigration-related agency decisions issued by the United States Citizenship and Immigration

22   Services (USCIS) in August 2021.

23          2. In August 2021, USCIS issued its decision denying plaintiff Vincent Hartman’s petition for

24   alien relative (form I-130), filed on behalf of beneficiary Sam Hartman, based on USCIS’s

                                                          1
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 1   determination that Sam Hartman was not eligible for approval as the beneficiary of the petition. Based

 2   on the denial of the petition for alien relative (I-130) regarding beneficiary Sam Hartman, the

 3   concurrently filed application of Sam Hartman to adjust status (form I-485) was also denied.

 4          2. In this civil action, Vincent Hartman and Sam Hartman allege USCIS erred in its denial of

 5   the immigration relief sought through the forms I-130 and I-485 - specifically alleging that Vincent

 6   Hartman’s petition for alien relative (I-130) should have been granted based on Vincent’s status as the

 7   “step-father” of Sam under the applicable federal statute.

 8          3. The August 2021 decision issued by USCIS on Vincent’s petition for alien relative (I-130)

 9   did not consider and did not address the claim advanced in this civil action; namely, that Vincent’s

10   petition for alien relative (I-130) should have been granted based on Vincent’s status as the “step-

11   father” of Sam under the applicable federal statute.

12          4. USCIS has agreed to vacate its August 2021 decision denying plaintiff Vincent Hartman’s

13   petition for alien relative (I-130) regarding beneficiary Sam Hartman and will reopen the

14   administrative proceeding regarding the petition.

15          5. The re-opened administrative proceeding will include USCIS’s review of appropriate

16   materials and consideration of the claim advanced in this civil action; namely, that Vincent’s petition

17   for alien relative (I-130) should have been granted based on Vincent’s status as the “step-father” of

18   Sam under the applicable federal statute.

19          6. USCIS expects to issue a decision to grant Vincent Hartman’s re-opened petition for alien

20   relative (I-130) or, alternatively, issue a Notice of Intent to Deny (NOID) the petition within 45 days

21   following the Court’s approval of this stipulation for stay and will use its best efforts to do so. In the

22   event a NOID is issued, plaintiff Vincent Hartman will be provided an opportunity to respond to the

23   NOID with additional information and/or materials and USCIS will thereafter issue its final decision

24   within 30 days of USCIS’s receipt of Hartman’s response.

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 1          7. Based on the foregoing, the parties jointly request that this civil action be stayed pending

 2   USCIS’s issuance of a decision on the re-opened petition for alien relative, as described above. The

 3   parties propose to file a status report no later than January 14, 2022.

 4

 5   _/s/ Alexander R. Vail_________                        _/s/ Greg Addington__________
     ALEXANDER R. VAIL, ESQ,                                GREG ADDINGTON
 6   Counsel for Plaintiffs                                 Assistant United States Attorney

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             Based on the foregoing stipulation and good cause appearing therefor, IT IS HEREBY
 8   ORDERED that this action is STAYED pending USCIS’s issuance of a decision on the re-opened
     petition for alien relative. The parties shall file a joint status report no later than January14, 2022.
 9

10           October 29, 2021
     Date: _______________________, 2021
                                                            _________________________________
11                                                          UNITED STATES DISTRICT JUDGE

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